                                                     U.S. Department of Justice
                                                     Civil Division
                                                     Washington, D.C. 20530



BY ECF                                                                             June 27, 2025
Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re:    Timely Publication of Temporary Protected Status Determinations
       Haitian Evangelical Clergy Assn., et al. v. Donald J. Trump, in his official capacity as
       President of the United States of America, et al., No. 25-CV-1464 (BMC) (E.D.N.Y.)

Dear Judge Cogan:

        First, the government attaches a pre-publication copy of a Federal Register Notice
announcing that the Secretary of Homeland Security is terminating Haiti’s designation for
Temporary Protected Status (TPS), a Secretarial determination made on June 4, 2025. See
8 U.S.C. § 1254a(3)(A)-(B). This Notice will be published about 4 weeks after the Secretary’s
determination to terminate TPS for Haiti, well within the “timely basis” requirement of the TPS
statute. Id. The Notice will extend the validity of Haitian TPS beneficiaries’ documents by 60
days from the date of publication. See 8 U.S.C. § 1254a(b)(3)(B).

        The government notes that Plaintiffs’ Complaint only challenges the legality of the
Secretary’s February 24, 2025 partial vacatur of Haiti’s designation for Temporary Protected
Status. See Compl. ¶¶ 127-156. Thus, neither the Secretary’s determination terminating Haiti’s
TPS determination nor the attached Notice is currently part of Plaintiffs’ claim. See Atlantic Mut.
Ins. Co. v. Balfour Maclaine Int’l Ltd., 968 F. 2d 196, 198 (2d Cir. 1992).

       Second, the government writes to provide the list of recent instances where publication of
a Secretary of Homeland Security’s TPS Notice in the Federal Register occurred more than four
weeks after the Secretary made a written determination, as requested during the June 25, 2025
Conference before the Court. The Government has identified ten recent instances where this
occurred.

 No. Country          Date of Secretary Date of                    Time           Type of TPS
                      Determination     Publication                Elapsed        Determination
 1.    Syria          January 26, 2021  March 19, 2021             7wks           Extension &
                                                                                  New
                                                                                  Designation
 2.    Burma          March 10, 2021       May 25, 2021            10wks, 6d      Designation
 3.    Haiti          May 22, 2021         August 3, 2021          6wks           Designation
 4.    Sudan          February 27, 2022    April 19, 2022          7wks, 2d       Designation
 5.    Ukraine        March 3, 2022        April 19, 2022          6wks, 5d       Designation
 6.    Afghanistan    March 16, 2022       May 20, 2022            9wks, 2d       Designation
 7.    Cameroon       April 15, 2022       June 7, 2022            7wks, 4d       Designation
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 8.    Ethiopia        October 3, 2022        December 12, 2022       10wks             Extension &
                                                                                        New
                                                                                        Designation
 9.    Somalia         January 4, 2023        March 13, 2023          9wks, 5d          Extension &
                                                                                        New
                                                                                        Designation
 10.   Lebanon         October 16, 2024       November 27, 2024 6wks                    Designation

        The Department of Homeland Security identified the occurrences above by comparing the
dates of signature by the Secretary on decision memoranda to the publication date of the Federal
Register Notices. See 8 U.S.C. § 1254a(b)(1)(C); (b)(2)(A); (b)(3). Counsel for the government
stated during the June 25, 2025 Conference that similar occurrences took place during several prior
Presidential administrations. While this is likely accurate, the list referenced during the
Conference contains examples only from the administration preceding the current one.

        According to the Department of Homeland Security, a gap in time between the Secretary’s
TPS determination and the publication of a Notice can occur for many possible reasons, including
the following:
    • Foreign policy considerations surrounding the date of public announcement, regardless of
        whether the determination is an extension, termination, new designation, or other action;
    • Department of Homeland Security officials responsible for preparing the Federal Register
        Notice must draft the Notice, researching and advising on legal and policy issues addressed
        in the Notice;
    • Department of Homeland Security officials responsible for the Federal Register Notice
        must circulate and coordinate the Federal Register Notice among other officials in the
        Department of Homeland Security and with other Executive Branch officials;
    • Department of Homeland Security officials responsible for preparing the Federal Register
        Notice must allocate their time among multiple agency actions, rulemaking projects, and
        other administrative law duties simultaneously with the drafting process;
    • The Department of Homeland Security must submit the notice to the Office of the Federal
        Register for review, formatting, and publication in the Federal Register.

        As the government asserted in its June 24, 2025 letter to the Court (Dkt. 58), Congress
recognized that the Secretary might require flexibility as to when to publish a TPS Notice. The
statute cabins this flexibility by tying the effective date of certain actions to the date of publication.
See 8 U.S.C. § 1254a(b)(3)(A-B); (d)(3).

        The Government renews its request that the Court dismiss Plaintiffs’ Complaint in its
entirety for lack of jurisdiction under 8 U.S.C. § 1254a(b)(5)(A) or because none of their claims
are plausible on their face.

                                                         Respectfully submitted,

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cc: All Counsel of Record (by ECF)
